EXHIBIT 1

State V. Long, 293 N.C. 286, 237 S.E.2d 728 (1978)

Case 1:16-CV-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 1 of 10

 

Get a Document - by Citation - 293 N.C. 286 Page 1 of 9

293 N.C. 286, *,' 237 S.E.Zd 728, **,'
1977 N.C. LEXI$ 933, ***

STATE OF NORTH CAROLINA v. RONNIE WALLACE LONG
No. 2
SUPREME COURT OF NORTH CAROLINA

293 N.C. 286; 237 S.E.Zd 728; 1977 N.C. LEXIS 933

October 11, 1977, Filed

PRIOR HISTORY: [***1] Appeal by defendant from Wooo', ]., 27 September 1976 Criminal
Session of Cabarrus Superior Court.

Defendant was charged in separate bills of indictment with first degree rape and first degree
burglary. The cases were consolidated for trial and defendant entered pleas of not guilty. The
jury returned verdicts of guilty as charged and the trial judge entered judgments imposing a life
sentence on each charge.

The State offered evidence tending to show that on the evening of 25 April 1976, Mrs. Gray
Bost, a fifty-four-year-old widow, was alone in her home at 158 South Union Street, Concord.
She walked into her den around 9:30 p.m. and was grabbed from behind by a black man
wearing a black leather jacket, black gloves, and a green toboggan cap covering his ears but
not his face. He threw her onto the floor, put a knife at her throat, and demanded money. He
pushed her into her bedroom to her bed, where she rummaged through her pocketbook only to
find that her money was gone. He then shoved her into a lighted hall, threw her onto the floor,
and raped her. Other sordid details concerning defendant's acts, not necessary to decision, are
omitted. The assault continued until [***2] the phone rang, at which time the assailant
jumped up and left. Mrs. Bost then ran unc|othed out the back door to her neighbor’s home,
and was rushed by ambulance to the hospital.

A gynecologist found live active spermatozoa in her vagina, as well as numerous scratches and
bruises on her face and body.

Defendant offered evidence tending to show that on Sunday, 25 April 1976, Ronnie Long
attended a class reunion planning meeting. He made arrangements with friends to go to
Charlotte later that night. Mrs. Elizabeth Long, defendant’s mother, testified that her son was at
home from around 8:30 p.m. until after 10:00 p.m. Mrs. Long, the defendant and defendant's
girl friend, Janice Spears, participated in a phone conversation which lasted about forty-five
minutes. Ms. Spears indicated that she called the Long residence at 9:00 p.m. She said that she
and her son talked with the defendant and Mrs. Long until 9:45 p.m. Shortly after 10:00 p.m.,
defendant's father returned home with the car and defendant left for a party in Charlotte.

Other facts relevant to the decision will be set out in the opinion.
DISPOSITICN: No error.

CASE SUMMARY:

PROCEDURAL POSTURE: Defendant sought review of his conviction by the Cabarrus
Superior Court (North Carolina) of first degree rape and first degree burglary.

OVERVIEW: Defendant contended that there had been numerous errors committed at his

https://WWW.lexis.com/research/retrieve?_m=$21010e2a6eOi`8b8b66a4f990lcbe72125&_bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 2 of 10

 

 

Get a Document - by Citation - 293 N.C. 286 Page 2 of 9

trial for rape and burglary. The court determined that the victim‘s out-of-court identification
of defendant as well as the photo identification were not impermissibly suggestive. In both
instances the victim readily identified defendant and stated that she recognized him from her
home and as her assailant. The court found that the trial court judge's determination that
defendant's consent to the search of his vehicle was voluntary was supported by competent
evidence and that the admission into evidence of the results of the search was proper. The
court found that admittance into evidence of a shoeprint from the scene of the crime that
matched the shoes worn by defendant upon his arrest was permissible. The court affirmed
defendant's conviction.

OUTCOME: The court affirmed defendant's conviction of rape and burglary, both in the first
degree, having determined that there was no error at trial and that the verdict was the result
of a fair and unbiased trial.

CORE TERMS: identification, shoe prints, courtroom, pretria|, voir dire, confrontation,
impermissibly suggestive, custody, arrest, porch, assailant, coercion, rape, identification
procedures, mistaken identification, present case, admissibility, in-custody, in-court, station,
evening, Criminal Law, roof, police station, photographic identification, consent to search,
right to refuse, toboggan, tending, connect

LEXISNEXIS(R) HEADNOTES

Criminal Law & Procedure > Eyewitness Identification > Fair Identification Requirement

Criminal Law & Procedure > Eyewitness Identification > Showup Identifications

HNI$Each case must be considered on its own facts, and convictions based on
eyewitness identification at trial following a pretrial identification will be set aside on
that ground only if the identification procedure was so impermissibly suggestive as
to give rise to a very substantial likelihood of irreparable misidentification The test
under the due process clause as to pretrial identification procedures is whether the
totality of the circumstances reveals pretrial procedures so unnecessarily suggestive
and conducive to irreparable mistaken identification as to offend fundamental
standards of decency, fairness and justice.

Criminal Law & Procedure > Eyewitness Identification > Showup Identifications

HNZ;;»_The following factors are to be considered in evaluating the likelihood of mistaken
identification. These are: (1) the opportunity of the witness to view the criminal at
the time of the crime, (2) the witness's degree of attention, (3) the accuracy of the
witness's description of the criminal, (4) the level of certainty demonstrated by the
witness at the confrontation, and (5) the length of time between the crime and the
confrontation,

Constitutional Law > Bill of Rights > Fundamental Rights > Search & Seizure > Warrants

Criminal Law & Procedure > Search & Seizure > Warrantless Searches > Vehicle Searches >

General Overview

Governments > Legislation > Statutory Remedies & Rights

HN3;gWhen a person voluntarily consents to a search by officers, he cannot later complain
that his constitutional and statutory rights were violated and that one who so
consents waives the necessity of a valid search warrant.

Criminal Law & Procedure > Search & Seizure > Warrantless Searches > Consent to Search
> Sufficiency & Voluntariness

Criminal Law & Procedure > Interrogation > Voluntariness _

Evidence > Procedural Considerations > Burdens of Proof > Allocation

HN45;For a consent search to be valid, the State has the burden of proving that consent

https://WWW.lexis.com/research/retrieve?_m=§aO106236€0f8b8b66a4f9901cbe7a25&*bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 3 of 10

 

 

Get a Document - by Citation - 293 N.C. 286 Page 3 of 9

was freely and voluntarily given, without coercion, duress or fraud. Although the
State has the burden of proving that consent was voluntarily given, Miranda is
inapplicable to searches and seizures, and it is not necessary to inform a suspect
that he has the right to refuse consent.

Criminal Law & Procedure > Search & Seizure > Warrantless Searches > Consent to Search

> Sufficiency & Voluntariness

Criminal Law & Procedure > Interrogation > Miranda Rights > Right to Counsel During

Questioning

Criminal i_aw & Procedure > Counsel > Right to Counsel > Genera| Overview

HN53_A specific warning as to Fourth Amendment rights is not necessary to validate
consent to a search after the defendant is in custody, and that this is especially so
where a defendant has been warned of his right to remain silent and right to
counsel under Miranda. There is no definitive distinction between pre-custody and
in-custody consent searches. Rather, the added factor of custody is a circumstance
to be taken into account with all other surrounding circumstances in determining
whether consent was freely and voluntarily given in the absence of coercion. Upon
the voir dire to determine the voluntariness of defendant‘s consent to a search of
his property, the weight to be given the evidence is peculiarly a determination for
the trial judge, and his findings are conclusive when supported by competent
evidence.

Evidence > Scientific Evidence > Crime Scene

Evidence > Scientific Evidence > Fingerprints & Footprints

HNGH-J;,Evidence of shoe prints leading to or from the scene of the crime and corresponding
with those of the accused may be admitted into evidence as tending more or less
strongly to connect the accused with the crime.

HEADNOTES

1. Criminal Law § 66.12 -- pretrial courtroom identification [***3] -- no
impermissible suggestiveness

A rape victim's identification of defendant at an unrelated district court proceeding was not the
result of impermissibly suggestive procedures, testimony of the pretrial identification was
properly admitted, and the pretrial identification did not taint the victim's in-court identification
of defendant where officers asked the victim to sit in the courtroom and see if she could
recognize the man who raped her; the officers made no suggestion that defendant or anyone
else in particular would be in the courtroom; there were approximately sixty people in the
courtroom and as many as a dozen black males; when defendant walked down the aisle past
her to approach the bench, the victim immediately recognized him as her assailant and, without
prompting, she mentioned to police that defendant was the man.

2. Criminal Law § 66.9 -- photographic identification -- no impermissible
suggestiveness

A rape victim's photographic identification of defendant at the police station was not the result
of impermissibly suggestive procedures where officers showed her six or eight photographs; the
victim identified defendant's photograph without prompting; [***4] officers did not point out
any particular picture to her; and the victim testified that she recognized defendant from seeing
him at the time of the assault.

3. Criminal Law §§ 66.9, 66.12 -- pretrial confrontation -- no likelihood of mistaken
identification

https://WWW.lexis.com/research/retrieve?_m=53010e236eOf8b8b66a4f990lobe7a25&_bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 4 of 10

Get a Document - by Citation - 293 N.C. 286 Page 4 of 9

There was no likelihood of mistaken identification in a rape victim's photographic and pretrial
courtroom identifications of defendant where the victim positively identified defendant as her
assailant; she testified that lights were on in her den, bedroom and hall, and that she got a
clear look at defendant's face in all three rooms; her description of defendant on the evening of
the crime was similar to his actual appearance; at her initial confrontation of defendant in the
district courtroom, she recognized defendant as soon as he walked past her to approach the
bench; and the lapse of time between the crime and the initial confrontation was fifteen days.

4. Searches and Seizures § 2 -- consent to search -- burden of proof

For a consent search to be valid, the State has the burden of proving that consent was freely
and voluntarily given, without coercion, duress or fraud.

5. Searches and Seizures [***5] § 2 -- in-custody consent for search ~- warning of
right to refuse consent

Officers are not required to advise a suspect of his right to refuse consent for a search in order
to validate either pre-custody or in-custody consent for the search; however, the added factor
of custody is a circumstance to be taken into account with all other surrounding circumstances
in determining whether consent was freely and voluntarily given in the absence of coercion.

6. Criminal Law § 61.2 -- shoe prints

 

Evidence of shoe prints leading to or from the scene of the crime and corresponding with those
of the accused may be admitted into evidence as tending more or less strongly to connect the
accused with the crime.

7. Criminal Law § 61.2 -- shoe prints -- time of impression

Testimony that a shoe print lifted from the front porch banister of a rape victim's home
corresponded with shoes taken from defendant at the time of his arrest was competent as
tending to connect defendant with the rape, although officers admitted on cross-examination
that the shoe print could have been made a month prior to the crime, since the question
whether the shoe print could have been impressed [***6] only at the time of the crime was a
question of fact for the jury, not a question of law to be determined by the court prior to the
admission of the evidence.

COUNSEL: Attorney Genera/ Rufus L. Edmisten and Associate Attorney Ben G. Irons, II for the
State.

Kar/ Ad/<ins for defendant appellant
JUDGES: Moore, Justice.

OPINION BY: MOORE

OPINION

[*289] [**730] Appellant's first assignment of error is based on the contention that
pretrial identification procedures were so impermissibly suggestive that admission of the in-
court identification violated due process of law. This contention questions the admissibility of
testimony concerning Mrs. Bost's identification of the defendant at an unrelated district court
proceeding, as well as the admissibility of Mrs. Bost's in-court identification of defendant. The
defendant contends that the circumstances surrounding the extrajudicial identification
procedures used by police to procure his identification were so unduly prejudicial and

https://WWW.lexis.com/research/retrieve?_m=$aO106236€0f8b8b66a4f9901cbe7a25&_bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 5 of 10

Get a Document - by Citation - 293 N.C. 286 Page 5 of 9

suggestive as fatally to taint his conviction. "This is a claim which must be evaluated in light of
the totality of surrounding circumstances." Simmons v. United States, 390 U.S. 377, 383, 19
L.Ed. 2d [***7] 1247, 1252-53, 88 S.Ct. 967, 970 (1968).

In Sto\/a/l v. Denno, 388 U.S. 293, 18 L.Ed. 2d 1199, 87 S.Ct. 1967 (1967), and in Simmons v.
United States, supra, the United States Supreme Court set forth the standard for determining
whether an in-court identification following an allegedly suggestive pretrial identification

procedure satisfies the demands of due process: "[W]e hold that HNi`~'?each case must be
considered on its own facts, and that convictions based on eyewitness identification at trial
following a pretrial identification . . . will be set aside on that ground only if the . . .
identification procedure was so impermissibly suggestive as to give rise to/a very substantial
likelihood of irreparable misidentification." Simmons v. United States, 390 U.S. at 384, 19 L.Ed.
2d at 1253, 88 S.Ct. at 971.

In State v. Henderson, 285 N.C. 1, 203 S.E. 2d 10 (1974), this Court set forth the standard as
follows:

". . . The test under the due process clause as to pretrial identification procedures
is whether the totality of the circumstances reveals pretrial procedures so
unnecessarily suggestive and conducive to irreparable mistaken identification as to
offend fundamental [***8] standards of decency, fairness and justice. [Citations
omitted.]"

[*290] In present case, Mrs. Bost testified that on 5 May 1976 officers came to her house
and requested her to come and sit in district court to see if there might be a man she could
recognize as her assailant. The officers told her that they did not know who would be in court,
and that she may have to come to court on two or more occasions before she could identify
anyone. Mrs. Bost went to the courthouse on 10 May and talked with officers before entering
the courtroom. Again, they made no suggestion to her that the defendant or anyone else in
particular would be in the courtroom. They simply told her to sit in the courtroom and look
around and see if she could recognize the man who raped her. Mrs. Bost entered the Courtroom
with her friend, a Mrs. Pfenne|l, and sat apart from the officers, There were as many as sixty
people in the courtroom, and as many as a dozen black males. Mrs. Bost testified that when the
judge called the name Ronnie Wallace Long, a name she had never heard before, a man she
recognized as her assailant walked down the aisle past her. She testified that she immediately
recognized [***9] him, and that, without prompting, she motioned to police that the
defendant was the man. Having reviewed the totality of the circumstances surrounding the
pretrial courtroom identification, we conclude that there was no constitutional violation in the
manner in which it was conducted.

Mrs. Bost further testified on Voir dire that after the courtroom identification the police took her
to the station and showed her six or eight photographs, and [**731] once again, without
prompting, she identified the defendant. She also testified that officers did not point out any
particular picture to her, and that she recognized the defendant from seeing him at the time of
the assault. Considering this testimony, we hold that there was nothing "impermissibly
suggestive" surrounding the circumstances of the photographic identification of the defendant.

In Ne/`/ v. Biggers, 409 U.S. 188, 34 L.Ed. 2d 401, 93 S.Ct. 375 (1972), the United States

Supreme Court set forth certain HNZ'§`-'factors to be considered in evaluating the likelihood of
mistaken identification, These are: (1) the opportunity of the witness to view the criminal at the
time of the crime, (2) the witness's degree of attention, [***10] (3) the accuracy of the
witness's description of the criminal, (4) the level of certainty demonstrated by the witness at
the confrontation, and (5) the length of time between the crime and the confrontation, See also
State v. Legette, 292 N.C. 44, 231 S.E. 2d 896 (1977); State v. Henderson, supra.

https://wWW.lexis.com/research/retrieve?_m=§aO10eZa6eOf8b8b66a4t9901cbe7325&“bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 6 of 10

 

 

Get a Document - by Citation - 293 N.C. 286 Page 6 of 9

A review of the uncontradicted testimony of Mrs. Bost on voir dire in light of the factors set
forth in Neil v. Biggers, supra, indicates [*291] little likelihood of mistaken identification, On
voir dire, Mrs. Bost positively identified the defendant as her assailant. She testified that lights
were on in her den, bedroom and hall, and that she got a clear look at the defendant's face in
all three rooms. This testimony indicates that she had ample opportunity to view the criminal at
the time of the crime, and that she carefully noted his appearance and the features of his face.
Her description of the defendant on the evening of the crime was similar to his actual
appearance At her initial confrontation with the defendant in district court, she recognized the
defendant as soon as he walked by her to approach the bench. She did not identify another
person as [***11] her assailant and did not fail to identify the defendant at her initial
confrontation with him, The lapse of time between the crime and the confrontation was fifteen
days. On voir dire she averred that she had "no doubt in her mind whatsoever" that Ronnie
Long was the man who raped her, and she said that her "identification was based on seeing him
in my home."

At the conclusion of the voir dire hearing, the trial judge found as a fact: "[T]hat her [Mrs.
Bost's] identification here in this courtroom today is free and independent of her viewing of the
defendant on May the 10th, in the courtroom on that occasion, and not tainted by her viewing
the defendant on that occasion; that nor was it tainted by her viewing of the photographs on
May the 10th, 1976.“

When the facts so found are supported by competent evidence, they are conclusive on appellate
courts. State v. Tugg/e, 284 N.C. 515, 201 S.E. 2d 884 (1974). Here, the court's findings were
amply supported by competent evidence and are therefore conclusive on this Court.

The competency of the testimony concerning Mrs. Bost's pretrial courtroom identification and
her photographic identification of defendant is a separate [***12] question. "[T]he
introduction of testimony concerning an out-of-court . . . identification must be excluded

where . . . the procedure used is impermissibly suggestive, even though that suggestiveness
does not require exclusion of the in-court identification itself under the Simmon$ test. [Citations
omitted.]" State v. Knight, 282 l\l.C. 220, 227, 192 S.E. 2d 283, 288 (1972). Since we have
found that there was nothing "unnecessarily" or "impermissibly" suggestive about the pretrial
identification procedures used in the present case, the evidence of the out-of-court
identifications was properly admitted.

[*292] We next turn to defendant's contention that the search of his automobile at the police
station was illegal and that the evidence relating to the discovery of the leather gloves and
toboggan cap, and the gloves and toboggan cap themselves, were therefore erroneously
admitted into evidence. Upon defendant's objection to this evidence, the trial judge correctly
excused the jury and conducted a voir dire hearing, found facts, entered conclusions of law and
ruled on the admissibility of the evidence. State [**732] v. Harris, 290 N.C. 681, 228 S.E.
2d [***13] 437 (1976); State v. \/esta/, 278 N.C. 561, 180 S.E. 2d 755, cert. denied, 414
U.S. 874, 38 L.Ed. 2d 114, 94 S.Ct. 157.

On voir dire, police officers Taylor and Lee testified that they went to defendant's home on the
evening of 10 May 1976 without an arrest warrant, and requested defendant to come to the
police station to answer some questions. Defendant asked if he could drive his own car to the
station, and the officers agreed. Defendant then drove to the station and parked his car in the
parking lot. When defendant entered the station, Officer Taylor read him his rights under
Miranda v. Arizona, 384 U.S. 436, 16 L.Ed. 2d 694, 86 S.Ct. 1602 (1966), and informed him
that he was a suspect in a rape case, Defendant signed a form waiving his Miranda rights and
agreed to submit to questioning without the presence of a lawyer. After the questioning,
Officers Taylor and Vogler asked defendant for consent to search his automobile.- Defendant
agreed to the search and gave Vogler the car keys. Upon search, Vogler found a green
toboggan cap under the front seat, and a pair of black leather gloves over the sun visor. At the
time of his arrest, defendant was wearing [***14] a black leather jacket. Mrs. Bost described

https://WWW.lexis.com/research/retrieve?_m=$aO1062216€018b8b66a4f9901cbe7a25&_bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 7 of 10

 

Get a Document - by Citation - 293 N.C. 286 Page 7 of 9

the jacket, the toboggan cap and the gloves as similar or identical to those worn by defendant
at the time of the assault. Officers Taylor and Vogler further testified that defendant was not
subjected to any pressure or threats by them and that Long expressed no hesitancy or
uncertainty about allowing them to search the vehic|e.

Defendant Long testified on voir dire that the officers came to his house on the evening of 10
May 1976 and told him to come down to the station to clear up a trespassing matter. He said
that while at the police station Officer Vogler asked him to empty his pockets. He did so, and
Vogler took his keys and left. Defendant testified that at no time did officers request permission
to search his automobile, and that he did not give anyone permission to search the vehicle He
further testified there was no coercion or pressure used on him at any time by the officers,

[*293] The trial judge found that the defendant "gave his permission to Officers Vogler and
Taylor to search his automobile . . . that this search was made with his permission, and the
Court concludes . . . that it is proper to allow that [***15] evidence to be introduced here
before the jury; [the court] denies the motion of the defendant to suppress this evidence."

Defendant recognizes that HN3?when a person voluntarily consents to a search by officers, he
cannot later complain that his constitutional and statutory rights were violated, State v. Harris,
290 N.C. 681, 228 S.E. 2d 437 (1976), and that one who so consents waives the necessity of a
valid search warrant. State v. \/esta/, supra. However, defendant contends that because he was
in custody at the stationhouse, consent was not voluntarily given, and since there was no
probable cause to search the vehic|e, the warrantless search was unconstitutional and the
evidence incompetent.

HN4”$For a consent search to be valid, the State has the burden of proving that consent was
freely and voluntarily given, without coercion, duress or fraud. Schnecl</oth v. Bustamonte, 412
U.S. 218, 36 L.Ed. 2d 854, 93 S.Ct. 2041 (1973); State v. l/estal, supra,' State v. Litt/e, 270
N.C. 234, 154 S.E. 2d 61 (1967). Although the State has the burden of proving that consent
was voluntarily given, the United States Supreme Court and this Court have held that Miranda
is inapplicable [***16] to searches and seizures, and that it is not necessary to inform a
suspect that he has the right to refuse Consent. Schneck/oth v. Bustamonte, supra,' State v.
Fran/<, 284 N.C. 137, 200 S.E. 2d 169 (1973); State v. l/esta/, supra.

In holding that advice as to the right to refuse consent to search is not necessary, the Court in
$chnec/</oth said:

"The protections of the Fourth Amendment are of a wholly different order, and have
nothing whatever to do with promoting the fair ascertainment of truth at a criminal
trial. . . .

". . . [**733] And, unlike those constitutional guarantees that protect a
defendant at trial, it cannot be said every reasonable presumption ought to be
indulged against voluntary relinquishment . . ." 412 U.S. at 242-43, 36 L.Ed. 2d at
871-72.

The defendant contends, however, that there is a difference between the non-custody consent
given without advice of rights upheld in Schnecl<loth, and the in-custody consent involved in the
present case Defendant argues that the very facts and circumstances surrounding a suspect in
custody are inherently coercive and tend to render any consent given by him nonvoluntary.

[*294] In Schnecl</oth [***17] , the Court noted that its holding applied to the limited facts
of that case, a pre-custody consent search, and said that a determination of the proper
standard for the validity of in-custody consent searches was not required by the facts of that

https://WWW.leXis.com/research/retrieve?_m=$aO1Oe2a66018b8b66a4f9901cbe7a25&_bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 8 of 10

 

Get a Document - by Citation - 293 N.C. 286 Page 8 of 9

case 412 U.S. at 240, 36 L.Ed. 2d at 870-71, n. 29.

In a more recent case, United States v. Watson, 423 U.S. 411, 46 L.Ed. 2d 598, 96 S.Ct. 820
(1976), the United States Supreme Court appears to have extended Schneck/oth to consent
searches when the suspect is both in custody and under arrest. There the Court said:

". . . Moreover, the fact of custody alone has never been enough in itself to
demonstrate a coerced confession or consent to search. Similarly, under
Schnecl<loth, the absence of proof that Watson knew he could withhold his consent,
though it may be a factor in the overall judgment, is not to be given controlling
significance . . .

"[T]o hold that illegal coercion is made out from the fact of arrest and the failure to
inform the arrestee that he could withhold consent would not be consistent with
Schnecl</oth and would distort the voluntariness standard that we reaffirmed in that
case" 423 U.S. at 424-25, [***18] 46 L.Ed. 2d at 609-10.

This Court held in State v. Franl<, supra, that HNS’Y!~"'a specific warning as to Fourth Amendment
rights is not necessary to validate consent to a search after the defendant is in custody, and
that this is especially so where, as in the present case, a defendant has been warned of his
right to remain silent and right to counsel under Miranda. $ee also United States v. Smith, 543
F. 2d 1141 (5th Cir. 1976); United States v. Green, 525 F. 2d 386 (8th Cir. 1975); United
States v. Cage, 494 F. 2d 740 (10th Cir. 1974); United States v. Fil<e, 449 F. 2d 191 (5th Cir.
1971). Therefore, in accord with the United States Supreme Court decision in Watson, we make
no definitive distinction between pre-custody and in-custody consent searches. Rather, we hold
that the added factor of custody is a circumstance to be taken into account with all other
surrounding circumstances in determining whether consent was freely and voluntarily given in
the absence of coercion. Upon the voir dire to determine the voluntariness of defendant's
consent to a search of his property, the weight to be given the evidence is peculiarly a
determination for the trial judge, [***19] and his findings are conclusive when supported by
competent evidence State v. Little, supra. In our opinion, the evidence in present case
supports the trial judge's findings, and the findings [*295] support the conclusions and
rulings. This assignment of error is overruled.

Defendant alleges that the trial court committed error by admitting evidence and testimony as
to a shoe print lifted from the banister of the front porch of the victim's home On voir dire,
Officer Van Isenhour testified that he lifted the shoe print from the banister the day after the
crime He further testified that there were numerous other scuff marks in the painted surface of
the banister and on up the post leading to the roof of the house Earlier, there was testimony
by Mrs. Bost and officers that the defendant probably entered the house by way of an unlocked
second story window above the front porch. The window was`found opened by police the
evening of the crime Officer Isenhour testified on cross-examination that the shoe print could
have been made as much as a month prior to the crime During the trial, S.B.I. Agent Dennis
[**734] Mooney, an expert on prints, testified that [***20] the shoe print could have been
made by shoes worn by and taken from defendant at the time of his arrest,

At the conclusion of the voir dire, the trial judge found facts as follows:

"At this time, 1 find that these footprints, from the testimony of this officer on voir
dire, were found on the corner of the bannister column which is eight and a half to
ten feet above the ground; four and a half feet above the porch; one and a half feet
to one and three quarter feet above the bannister on the corner of the porch post;
that this is a place ordinarily where footprints would not appear on a house; that in
addition, there were scuff marks on the post leading up to the corner of the roof of

https://WWW.lexis.convresearch/retrieve?~m=$30106236€0f8b8b66a4f9901cbe7a25&_bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 9 of 10

 

Get a Document - by Citation - 293 N.C. 286 Page 9 of 9

the porch, near the roof of the porch; that this roof is the roof from which the
person who assaulted Mrs. Bost on the 25th day of April . . . made the entry into
the house . . ."

The trial court then concluded that the evidence of the shoe print was admissible

Defendant insists that since the shoe print could have been made as much as a month prior to
the crime, its admission was error, and that under State v. Pa/mer, 230 N.C. 205, 52 S.E. 2d
908 (1949), it was nonprobative evidence [***21] which should not have been presented to
the jury. Defendant's reliance on Pa/mer is misplaced. Pa/mer dealt with the weight to be
assigned the evidence of the shoe print in determining a motion for nonsuit, not its
admissibility. The [*296] admissibility of the evidence of the shoe print was not raised on
appeaL -

HN5’§~"Evidence of shoe prints leading to or from the scene of the crime and corresponding with
those of the accused may be admitted into evidence as tending more or less strongly to connect
the accused with the crime Stansbury, North Carolina Evidence § 85, pp. 263-65 (Brandis rev.
1973); State v. Lewis, 281 N.C. 564, 189 S.E. 2d 216 (1972); State v. Pinyate/lo, 272 N.C.
312, 158 S.E. 2d 596 (1968); State v. Warren, 228 N.C. 22, 44 S.E. 2d 207 (1947). Although
both Officers Van Isenhour and Mooney admitted on cross-examination that the shoe print
could have been made a month prior to the crime, Officer Mooney's testimony on direct
examination that the shoe print corresponded with shoes taken from defendant at the time of
his arrest was clearly competent as tending to connect the accused with the crime The
question whether the shoe print could have [***22] been impressed only at the time the
crime was committed is a question of fact for the jury, not a question of law to be determined
by the court prior to the admission of the evidence State v. Iric/<, 291 N.C. 480, 231 S.E. 2d
833 (1977). We therefore hold that this evidence was properly admitted.

Evidence of defendant's guilt was clear. His convictions result from a trial free from prejudicial
error. The verdicts and judgments of the trial court must therefore be upheld.

No error.

Service: Get by LEXSEE®
Citation: 293 N.C. 286
View: Full
Date/Time: Tuesday, February 28, 2012 - 12:00 PM EST

* Signal Legend:

§ - Warning: Negative treatment is indicated

' - Questioned: Validity questioned by citing refs
- Caution: Possible negative treatment

 

- Positive treatment is indicated

- Citing Refs. With Analysis Available

- Citation information available

Click on any Shepard’s signal to Sheparclize® that case.

-X-

About LexisNexis | Privacy Policy l Terms & Conditions l Contact Us
Copyright © 2012 LexisNexis, a division of Reed Elsevier Inc. All rights reserved

i'l

https://WWW.lexis.convresearch/retrieve?_m=SaO1062a6eOf8b8b66a4f9901cbe7a25&_bro... 2/28/2012
Case 1:16-cv-00539-CCE-LPA Document 7-2 Filed 06/17/16 Paoe 10 of 10

